Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 1 of 7 PageID# 535



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division




   SONY MUSIC ENTERTAINMENT,ET AL.,

                          Plaintiffs,

           V.                                                 Case No. l;18-cv-950


   COX COMMUNICATIONS,INC.,et al.,

                          Defendants.



                                 MEMORANDUM OPINION

       This matter comes before the Court on Defendant's Motion to Change Venue Pursuant to

29 U.S.C. § 1404. Dkt. No. 22. For the following reasons, the Court denies the motion.

                                          I. Background

       Plaintiffs, fifty-seven entertainment companies, have filed a Complaint alleging that

Defendants, internet service providers, have contributorily and vicariously infringed upon

Plaintiffs' copyrights. This alleged contributory and vicarious infringement stems from instances

in which Defendants' customers illegally downloaded songs to which Plaintiffs own the

copyrights.

       Defendants seek to transfer this case to the Northern District of Georgia. None of the

Plaintiffs are domiciled in the Eastern District of Virginia. Neither are the Defendants. Seven of

ten witnesses the Defendants have identified as critical to their case - as well as Defendants

themselves- are at home in the Northern District of Georgia.

       The instant case is not the first in which Defendants have come before this Court. In

November 2014 different plaintiffs filed a complaint alleging contributory and vicarious

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Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 2 of 7 PageID# 536



infringement of copyrights. BMG Rights Mgmt. et al. v. Cox Comms., Inc. et al., l:14-cv-1611.

In the course of that litigation, which lasted over a year, and culminated in a jury finding

Defendants liable, this court issued dozens of orders, including a forty-five page summary

Judgment opinion. At no point did Defendants move to transfer venue. The Fourth Circuit

reviewed this Court's summary judgment opinion, upholding this Court's ruling precluding

Defendants from asserting a safe harbor defense under the DMCA,but remanding the case for a

new trial based on an error in the jury instructions given. BMG Rights Mgmt.(US)LLC v. Cox

Commc'ns, Inc., 881 F.3d 293,314(4th Cir. 2018).

                                        II. Legal Standard

       A district court may transfer a civil action to any other district where the action could

have been brought "[fjor the convenience of parties and witnesses, in the interest ofjustice." 28

U.S.C. § 1404(a). "The decision whether to transfer an action under the statute is committed to

the sound discretion ofthe district court." Heinz Kettler GMBH & Co. v. Razor USA, LLC,750

F. Supp. 2d 660,667(E.D. Va. 2010)(citation omitted). District courts determining whether to

grant a motion to transfer under § 1404(a) usually consider the following factors: "(1) plaintiffs

choice offorum;(2)convenience of the parties;(3) witness convenience and access; and (4)the

interest ofjustice." Id. The movant bears the burden ofshowing that the circumstances of the

case weigh strongly in favor of transfer. Id. Because the statute gives no guidance regarding the

weight to give each factor it is a fact intensive inquiry and depends on the circumstances in each

case. SamsungElec.i. Co. v. Rambus, Inc., 386 F. Supp 2d 708,716(E.D. Va. 2005).

                                           III. Analysis

       In considering the factors relevant to a venue transfer this Court finds the first factor,

plaintiffs choice offorum, weighs slightly in favor ofPlaintiffs. The second factor, convenience
Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 3 of 7 PageID# 537



of the parties and witnesses, weighs slightly in favor of Defendants. The third factor, the interest

ofjustice, weighs heavily in favor of Plaintiffs.

       A. Plaintiff's Choice ofForum

       Typically, plaintiffs choice offorum is entitled to substantial weight. Id. A plaintiffs

choice offorum will not be entitled to substantial weight if plaintiff has chosen a foreign forum

and the cause ofaction bears little or no relation to that forum. Id. "But,even then, the plaintiffs

choice offorum is certainly a relevant consideration so long as there is a connection between the

forum and the plaintiffs claim that reasonably and logically supports the plaintiffs decision to

bring the case in the chosen forum." Id.

       Use ofan infringing product in the chosen forum alone is not necessarily enough to tip

this factor in a plaintiffs favor. See Advanced Mktg. Sys., LLC v. Delhaize Am., LLC,No.

2:15CV74,2015 WL 12806533, at *3(E.D. Va. July 31,2015); Lycos, Inc. v. Tivo, Inc.,499 F.

Supp. 2d 685,696(E.D. Va. 2007). In those cases it is important to look to(1) whether the

infringing use in the chosen forum was unique as compared to the infringing use in other forums,

and (2)whether those who exercised control over the infringing products or devices were located

in the chosen forum. See Advanced Mktg. Sys., LLC,2015 WL 12806533, at *3; Lycos, Inc., 499

P. Supp. 2d at 696("The acts relevant to this lawsuit... are those of the defendants, not their

customers and subscribers. The design and manufacture of the allegedly infringing products, as

well as the design and development of the purportedly infringing online services, occurred

outside of Virginia.").

       Here, none ofthe Plaintiffs are at home in the Eastern District of Virginia. Therefore, this

factor will only be given substantial weight if a significant portion ofthe cause ofaction

occurred in this forum.
Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 4 of 7 PageID# 538



        Plaintiffs argue that a significant portion ofthe cause of action occurred in this forum

because Defendants' employees tasked with terminating the accounts of repeat infringers worked
in this forum. Defendants contend that these Virginia-based employees reported to supervisors in
Atlanta and therefore were not actually in control ofterminating repeat infringers' accounts.
Defendants further argue that because the decisionmakers were not located in the forum, and
because Plaintiffs have not alleged any infringement in the forum was unique. Plaintiffs' choice
offorum should not be given weight.

        However,even ifthose with the ultimate control over terminating repeat infringers'
accounts were not located in this forum the factor does not weigh in favor of Defendants. Even if

not unique,infringement did occur in the Eastern District of Virginia, which creates a connection
with this forum. Even ifthe Court agreed completely with Defendants' argument. Plaintiffs'
choice offorum should be given some weight,just not substantial weight.
       For these reasons, this factor at the very least tips slightly against transfer.
       B. Convenience ofthe Witnesses and the Parties

       Defendant must demonstrate that the selected forum is inconvenient, not simply that the
desired forum is more convenient. Samsung Elecs. Co.,386 P. Supp. 2d at 718 n.4. To
demonstrate this, Defendant"must proffer sufficient details regarding the witness and his or her
testimony to allow the court to assess both the materiality of the evidence that the witness will
offer and the inconvenience that will result from declining to transfer the action." Lycos, Inc.,
499 P. Supp. 2d at 693.

       In considering the convenience ofthe witnesses the court should distinguish between
party and non-party witnesses. Samsung Elecs. Co., 386 P. Supp. 2d at 718. This is because party
witnesses are presumed to be more willing to testify in a distant forum. Id. The court in Samsung
Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 5 of 7 PageID# 539



found it unpersuasive when the defendant claimed inconvenience for witnesses because many of
the witnesses were former employees or lawyers of the defendant and the defendant did not

explain why the witnesses would not be willing to travel to the forum ifthe defendant paid their
way. Id. at 719.

        Here Defendants have identified seven potential witnesses that live in the Northern

District of Georgia. Six are current Cox employees and the remaining potential witness is former
counsel. These are party witnesses. Defendants have not described what these witnesses will

testify to so this Court cannot determine how material they are to Defendants' case. Defendants
also have not described with any specificity what inconvenience will be caused to the witnesses

if transfer is not granted. Because ofthis, Defendants have not included sufficient details to

demonstrate the inconvenience for these party witnesses.

        That said, Defendants and these identified witnesses are at home in the Northern District

of Georgia and although Plaintiffs are not home in the Northern District of Georgia, neither are
they home in the Eastern District of Virginia, making the Northern District of Georgia no more
inconvenient to Plaintiffs than the Eastern District of Virginia. Further, many ofthe documents
and discovery involved in the case are located at Defendants' headquarters in the Northern
District of Georgia.

        Taken as a whole, the facts cause this factor to lean slightly in favor oftransfer.
        C. The Interest ofJustice

        The interest ofjustice encompasses systemic integrity and fairness. Id. at 721."Judicial
economy and the avoidance of inconsistentjudgments are prominent among the principal
elements of systemic integrity." Id. "Where a party has previously litigated claims involving
certain issues in one forum ...'a court in that district will likely be familiar with the facts of the
Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 6 of 7 PageID# 540



 case. As a matter ofjudicial economy, such familiarity is highly desirable.'" LG Elecs. Inc. v.
Advance Creative Computer Corp., 131 F. Supp. 2d 804,815(E.D. Va. 2001)(quoting
 Wheeling-Pittsburgh Steel Corp. v. U.S. EPA, 1999 WL 11459, *4(E.D. Pa 1999)). Indeed,
 'GJudicial economy and the interest ofjustice favor a venue which has already committed
judicial resources to the contested issues and is familiar with the facts ofthe case."Samsung
Elecs. Co., 386 F. Supp. 2d at 723.

        Although this case is distinguishable from BMG Rights Management v. Cox
Communications, Inc, it involves the same Defendants and similar claims. Significantly, in the
course of the BMG litigation this Court ruled that Defendants could not rely on the DMCA safe
harbor provision. Although Defendants claim this Court's ruling on the DMCA's safe harbor
provision will not be relevant to this case, this Court's prior ruling will at the very least touch on
the issues presented here. The considerable judicial resources this Court expended on reaching
this ruling on an issue offirst impression - a ruling that was upheld by the Fourth Circuit-
cannot be ignored. Defendants propose to transfer to the Northern District of Georgia, a court
that has not had occasion to thoroughly examine this DMCA issue, and into the jurisdiction of
the Eleventh Circuit, a Court of Appeals that likewise has not had the opportunity to examine
this issue.


        Apart from the DMCA safe harbor ruling, in the course ofthe BMG litigation this Court
issued dozens ofother rulings on discovery issues and other matters. Similar issues are likely to
come up in the present case and judicial economy and the avoidance of inconsistentjudgments
require that this Court retain jurisdiction.

       The interest ofjustice factor weighs heavily against transfer.

                                           IV. Conclusion
Case 1:18-cv-00950-LO-JFA Document 51 Filed 11/19/18 Page 7 of 7 PageID# 541



        For the reasons stated above, the first factor. Plaintiffs choice offorum, weighs slightly
against transfer. The second factor, the convenience ofthe witnesses and the parties, weighs
slightly in favor of transfer. The third factor, the interest ofjustice, weighs heavily against
transfer. Thus, taken as a whole, the factors weigh against transferring the case.
       Defendant's Motion to Change Venue Pursuant to 29 U.S.C. § 1404. Dkt. No. 22, is
denied. A separate Order has been issued.



November 1^,2018                                              Liam O'GmA
Alexandria, Virginia                                                               j,
